542 F.2d 573
    93 L.R.R.M. (BNA) 2943, 79 Lab.Cas.  P 11,791
    Mississippi Gulf Coast Building and Construction Trades Councilv.N. L. R. B.*#
    No. 76-1554
    United States Court of Appeals, Fifth Circuit
    11/1/76
    
      1
      N.L.R.B., Miss.
    
    ENFORCED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
        #  Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966.
      
    
    